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                                                               United States Bankruptcy Court
                                                                      District of South Carolina
            Oscar Vazquez-Melendez
 In re      Irma Lydia Vazquez                                                                              Case No.   17-05035
                                                                                   Debtor(s)                Chapter    7



                                                           AMENDMENT COVER SHEET
Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
Summary of Assets and Liabilities -to amend as follows

Schedule B -to disclose 401k account arising from male debtor's former employment, which debtor believed to be closed, but
debtors discovered postpetition that it was not.

Schedule C -to amend exemption to 401k




                                        NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES
Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certify that notice of the filing of the amendment(s) listed above has
been given this date to any and all entities affected by the amendment as follows:



 Date: December 15, 2017                                                /s/ Caleb J. Farmer
                                                                        Caleb J. Farmer 10818
                                                                        Attorney for Debtor(s)
                                                                        Farmer & Morris Law, PLLC
                                                                        PO Box 632
                                                                        Rutherfordton, NC 28139
                                                                        (828) 286-3866 Fax:(828) 286-4820
                                                                        cfarmer@farmerlegal.com




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 Fill in this information to identify your case:

 Debtor 1                   Oscar Vazquez-Melendez
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Irma Lydia Vazquez
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF SOUTH CAROLINA

 Case number           17-05035
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             461,700.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $             194,235.69

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             655,935.69

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $             735,492.25

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $                2,954.78

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $          4,522,732.56


                                                                                                                                     Your total liabilities $                 5,261,179.59


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $                9,738.87

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                8,469.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

         Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to

 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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 Debtor 2      Irma Lydia Vazquez                                                         Case number (if known) 17-05035
             the court with your other schedules.

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              2,954.78

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            101,133.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            104,087.78




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
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                                                                                Document      Page 4 of 17
 Fill in this information to identify your case and this filing:

 Debtor 1                    Oscar Vazquez-Melendez
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Irma Lydia Vazquez
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF SOUTH CAROLINA

 Case number            17-05035                                                                                                                                Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        105 Dewfield Lane
        Street address, if available, or other description
                                                                                      Single-family home                         Do not deduct secured claims or exemptions. Put
                                                                                       Duplex or multi-unit building              the amount of any secured claims on Schedule D:
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative
                                                                                  
                                                                                      Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Boiling Springs                   SC        29316-0000                        Land                                       entire property?           portion you own?
        City                              State              ZIP Code                 Investment property                               $184,900.00                $184,900.00
                                                                                      Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              JTWRS
        Spartanburg                                                                   Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                      At least one of the debtors and another
                                                                                                                                      (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Single-family home on 0.271 acres
                                                                                Tax ID: 2-51-00-532.00
                                                                                Value based on tax assessment




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 2        Irma Lydia Vazquez                                                                                     Case number (if known)          17-05035

       If you own or have more than one, list here:
 1.2                                                                   What is the property? Check all that apply
       518 Milestone Run
       Street address, if available, or other description
                                                                             Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                              Duplex or multi-unit building                   the amount of any secured claims on Schedule D:
                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative
                                                                         
                                                                             Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Boiling Springs                   SC        29316-0000                Land                                            entire property?              portion you own?
       City                              State              ZIP Code         Investment property                                    $126,800.00                     $126,800.00
                                                                             Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Tenant in Common
       Spartanburg                                                           Debtor 2 only
       County                                                                Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                             At least one of the debtors and another             (see instructions)

                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Single-family home on 0.19 acres
                                                                       Tax ID: 2-52-00-001.39
                                                                       Value: based on tax assessment
                                                                       Male debtor jointly owns (50%) with debtors' son, Alexander Vazquez.


       If you own or have more than one, list here:
 1.3                                                                   What is the property? Check all that apply
       359 Calle Flor de Sierra
       Hacienda Real
                                                                             Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                              Duplex or multi-unit building                   the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative
                                                                         
                                                                             Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Carolina                          PR        00987-0000                Land                                            entire property?              portion you own?
       City                              State              ZIP Code         Investment property                                    $150,000.00                     $150,000.00
                                                                             Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Joint tenant
       Carolina                                                              Debtor 2 only
       County                                                                Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                             At least one of the debtors and another
                                                                                                                                  (see instructions)

                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Single-family home on approx. 0.25 acres
                                                                       Value based on debtor's opinion of liquidation value, but debtors believe
                                                                       the property was damaged in the recent hurricanes. Debtors assume the
                                                                       mortgage lender has force-placed property insurance.
                                                                       The primary mortgage is in foreclosure. Debtors understand foreclosure
                                                                       auction is scheduled for late October 2017.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                        $461,700.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.



Official Form 106A/B                                                      Schedule A/B: Property                                                                               page 2
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3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1    Make:       Honda                                                                                                    Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Pilot                                      Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2017                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                   3.000           Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        Female debtor leases this
        vehicle                                                 Check if this is community property                                    Unknown                    Unknown
                                                                     (see instructions)



  3.2    Make:       Honda                                                                                                    Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Odyssey                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2012                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                  50,000           Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        Condition: Average (recently
        wrecked and repairs                                     Check if this is community property                                  $11,500.00                   $5,750.00
                                                                     (see instructions)
        Value based on average NADA
        Male debtor jointly owns (50%)
        with debtors' son.


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $5,750.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Kitchenware, kitchen appliances, kitchen table, decorations, China
                                    hutch, sofa, lamps, pictures, sofa, chairs, coffee table, king size
                                    bedroom suit, Full size bedroom suit, twin size bedroom suit,
                                    washer, dryer, and lawn chairs                                                                                                  $8,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    (3) TV, (2) computers, printer, (2) mobile phones                                                                                 $500.00

Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 3
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8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.       Describe.....

                                            Clothing, shoes and accessories                                                                                            $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

                                            Costume jewelry, wedding bands                                                                                             $300.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $9,100.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
     Yes................................................................................................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:

Official Form 106A/B                                                                      Schedule A/B: Property                                                           page 4
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                                                                            Bank of America
                                      17.1.    Money Market                 Acct. no: xx1728                                                    $401.43


                                                                            Bank of America
                                      17.2.    Checking                     Acct. no: xx0156                                                  $3,574.88


                                                                            Pentagon Federal Credit Union
                                      17.3.    Savings                      Acct. no: xx5014                                                  $1,952.00


                                                                            Pentagon Federal Credit Union
                                      17.4.    Checking                     Acct. no: xx5022                                                  $1,992.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                   Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                  % of ownership:

                                         Male debtor's 35% ownership interest in Adler
                                         Group, Inc. Male debtor and two unrelated
                                         business partners purchased a private school in
                                         Puerto Rico in 2014. Attempted to develop and
                                         continue operating as a private, K-12 primary
                                         school. The male debtor is a passive investor
                                         and has no day-to-day involvement or control.
                                         In April 2017, the corporation filed a chapter 11
                                         bankruptcy case due to declining revenue and
                                         pending litigation. Debtor understands that the
                                         real estate (the school campus) has suffered
                                         significant damage in recent hurricanes.
                                         Male debtor belives liabilities exceed assets. He
                                         is not aware what the ch. 11 plan of
                                         reorganization may involve. No plan has been
                                         filed in the case.
                                         Debtors have received no compensation or
                                         owner distributions from the corporation. Do
                                         not anticipate receiving any in the future                         35          %                     Unknown


                                         Male debtor's 50% membership interest in "OVM
                                         Solutions, LLC"
                                         Business formed in 2003 to develop and provide
                                         education technology products and services.
                                         Has no operations since 2012. The debtors
                                         have not closed the LLC as it was named as a
                                         defendant in a civil lawsuit in 2015 that has not
                                         yet concluded
                                         No assets. No liabilities other than the
                                         unliquidated civil claim against the LLC.                          50          %                           $0.00




Official Form 106A/B                                                  Schedule A/B: Property                                                        page 5
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                                          Female debtor's 50% membership interest in
                                          "OVM Solutions, LLC"
                                          Business formed in 2003 to develop and provide
                                          education technology products and services.
                                          Has no operations since 2012. The debtors
                                          have not closed the LLC as it was named as a
                                          defendant in a civil lawsuit in 2015 that has not
                                          yet concluded
                                          No assets. No liabilities other than the
                                          unliquidated civil claim against the LLC.                                50         %                               $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                          Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                        Type of account:                  Institution name:

                                        Retirement pension                TIAA-CREF retirement pension account
                                                                          arising from debtor's employment with
                                                                          Limestone College
                                                                          "Limestone College Retirement Plan"
                                                                          Scheduled value is the ending balance on the
                                                                          June 30, 2017 statement
                                                                          Currently distributes to male debtor as
                                                                          monthly income of $153.82                                                 $168,376.17


                                        401k                              account from debtor's prior employment with
                                                                          ITT Educational Services, Inc
                                                                          Account balance as of 9/3/2017                                                $3,089.21


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
Official Form 106A/B                                                  Schedule A/B: Property                                                                  page 6
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27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...
 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                          Beneficiary:                         Surrender or refund
                                                                                                                                     value:

                                         Group term life insurance policy with
                                         Prudential for Veterans Group Life
                                         Insurance
                                         No cash value                                          Irma Vazquez (debtor 2)                                 $0.00


                                         Whole life insurance policy with Liberty
                                         National                                               Alexander Vazquez
                                         Insured: Debtor 2                                      [son]; Jovan Vazquez
                                         No cash surrender value                                [son]                                                   $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........



Official Form 106A/B                                                   Schedule A/B: Property                                                           page 7
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              Case 17-05035-hb                             Doc 16             Filed 12/15/17 Entered 12/15/17 11:15:35                                               Desc Main
                                                                             Document      Page 11 of 17
 Debtor 1         Oscar Vazquez-Melendez
 Debtor 2         Irma Lydia Vazquez                                                                                                    Case number (if known)   17-05035

35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                $179,385.69


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $461,700.00
 56. Part 2: Total vehicles, line 5                                                                           $5,750.00
 57. Part 3: Total personal and household items, line 15                                                      $9,100.00
 58. Part 4: Total financial assets, line 36                                                                $179,385.69
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $194,235.69               Copy personal property total             $194,235.69

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $655,935.69




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 8
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Case 17-05035-hb   Doc 16    Filed 12/15/17 Entered 12/15/17 11:15:35   Desc Main
                            Document      Page 12 of 17
               Case 17-05035-hb                     Doc 16            Filed 12/15/17 Entered 12/15/17 11:15:35                              Desc Main
                                                                     Document      Page 13 of 17
 Fill in this information to identify your case:

 Debtor 1                Oscar Vazquez-Melendez
                         First Name                         Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                     Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number           17-05035
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

 Debtor 1 Exemptions
   105 Dewfield Lane Boiling Springs,                                                                                            S.C. Code Ann. §
   SC 29316 Spartanburg County
                                                                     $184,900.00                                $25,296.50
                                                                                                                                 15-41-30(A)(1)(a)
   Single-family home on 0.271 acres                                                     100% of fair market value, up to
   Tax ID: 2-51-00-532.00                                                                     any applicable statutory limit
   Value based on tax assessment
   Line from Schedule A/B: 1.1

      2012 Honda Odyssey 50,000 miles                                                                                            S.C. Code Ann. §
      Condition: Average (recently
                                                                       $5,750.00                                  $2,626.50
                                                                                                                                 15-41-30(A)(2)
      wrecked and repairs                                                                100% of fair market value, up to
      Value based on average NADA                                                             any applicable statutory limit
      Male debtor jointly owns (50%) with
      debtors' son.
      Line from Schedule A/B: 3.2

      Kitchenware, kitchen appliances,                                                                                           S.C. Code Ann. §
      kitchen table, decorations, China
                                                                       $8,000.00                                  $4,000.00
                                                                                                                                 15-41-30(A)(3)
      hutch, sofa, lamps, pictures, sofa,                                                100% of fair market value, up to
      chairs, coffee table, king size                                                         any applicable statutory limit
      bedroom suit, Full size bedroom suit,
      twin size bedroom suit, washer,
      dryer, and lawn chairs
      Line from Schedule A/B: 6.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 4
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            Case 17-05035-hb                        Doc 16            Filed 12/15/17 Entered 12/15/17 11:15:35                            Desc Main
                                                                     Document      Page 14 of 17
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     (3) TV, (2) computers, printer, (2)                                                                                       S.C. Code Ann. §
     mobile phones
                                                                         $500.00                                  $250.00
                                                                                                                               15-41-30(A)(3)
     Line from Schedule A/B: 7.1                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Clothing, shoes and accessories                                                                                           S.C. Code Ann. §
     Line from Schedule A/B: 11.1
                                                                         $300.00                                  $150.00
                                                                                                                               15-41-30(A)(3)
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Costume jewelry, wedding bands                                                                                            S.C. Code Ann. §
     Line from Schedule A/B: 12.1
                                                                         $300.00                                  $150.00
                                                                                                                               15-41-30(A)(4)
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Money Market: Bank of America                                                                                             S.C. Code Ann. §
     Acct. no: xx1728
                                                                         $401.43                                  $168.56
                                                                                                                               15-41-30(A)(7) - from unused
     Line from Schedule A/B: 17.1                                                      100% of fair market value, up to       (A)(1)
                                                                                           any applicable statutory limit

     Checking: Bank of America                                                                                                 S.C. Code Ann. §
     Acct. no: xx0156
                                                                       $3,574.88                                $1,787.44
                                                                                                                               15-41-30(A)(7) - from unused
     Line from Schedule A/B: 17.2                                                      100% of fair market value, up to       (A)(1)
                                                                                           any applicable statutory limit

     Savings: Pentagon Federal Credit                                                                                          S.C. Code Ann. §
     Union
                                                                       $1,952.00                                $1,952.00
                                                                                                                               15-41-30(A)(7)
     Acct. no: xx5014                                                                  100% of fair market value, up to
     Line from Schedule A/B: 17.3                                                          any applicable statutory limit

     Checking: Pentagon Federal Credit                                                                                         S.C. Code Ann. §
     Union
                                                                       $1,992.00                                $1,992.00
                                                                                                                               15-41-30(A)(7)
     Acct. no: xx5022                                                                  100% of fair market value, up to
     Line from Schedule A/B: 17.4                                                          any applicable statutory limit

     Retirement pension: TIAA-CREF                                                                                             S.C. Code Ann. §
     retirement pension account arising
                                                                     $168,376.17                             $168,376.17
                                                                                                                               15-41-30(A)(11)(e)
     from debtor's employment with                                                     100% of fair market value, up to
     Limestone College                                                                     any applicable statutory limit
     "Limestone College Retirement Plan"
     Scheduled value is the ending
     balance on the June 30, 2017
     statement
     Currently distributes to male debto
     Line from Schedule A/B: 21.1

     401k: account from debtor's prior                                                                                         S.C. Code Ann. §
     employment with ITT Educational
                                                                       $3,089.21                                $3,089.21
                                                                                                                               15-41-30(A)(13)
     Services, Inc                                                                     100% of fair market value, up to
     Account balance as of 9/3/2017                                                        any applicable statutory limit
     Line from Schedule A/B: 21.2

 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 2 of 4
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               Case 17-05035-hb                     Doc 16            Filed 12/15/17 Entered 12/15/17 11:15:35                              Desc Main
                                                                     Document      Page 15 of 17
 Fill in this information to identify your case:

 Debtor 1
                         First Name                         Middle Name                     Last Name

 Debtor 2                Irma Lydia Vazquez
 (Spouse if, filing)     First Name                         Middle Name                     Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number           17-05035
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

 Debtor 2 Exemptions
   105 Dewfield Lane Boiling Springs,                                                                                            S.C. Code Ann. §
   SC 29316 Spartanburg County
                                                                     $184,900.00                                $25,296.83
                                                                                                                                 15-41-30(A)(1)(a)
   Single-family home on 0.271 acres                                                     100% of fair market value, up to
   Tax ID: 2-51-00-532.00                                                                     any applicable statutory limit
   Value based on tax assessment
   Line from Schedule A/B: 1.1

      Kitchenware, kitchen appliances,                                                                                           S.C. Code Ann. §
      kitchen table, decorations, China
                                                                       $8,000.00                                  $4,000.00
                                                                                                                                 15-41-30(A)(3)
      hutch, sofa, lamps, pictures, sofa,                                                100% of fair market value, up to
      chairs, coffee table, king size                                                         any applicable statutory limit
      bedroom suit, Full size bedroom suit,
      twin size bedroom suit, washer,
      dryer, and lawn chairs
      Line from Schedule A/B: 6.1

      (3) TV, (2) computers, printer, (2)                                                                                        S.C. Code Ann. §
      mobile phones
                                                                          $500.00                                   $250.00
                                                                                                                                 15-41-30(A)(3)
      Line from Schedule A/B: 7.1                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 3 of 4
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                                                                     Document      Page 16 of 17
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B
     Clothing, shoes and accessories                                                                                           S.C. Code Ann. §
     Line from Schedule A/B: 11.1
                                                                         $300.00                                  $150.00
                                                                                                                               15-41-30(A)(3)
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Costume jewelry, wedding bands                                                                                            S.C. Code Ann. §
     Line from Schedule A/B: 12.1
                                                                         $300.00                                  $150.00
                                                                                                                               15-41-30(A)(4)
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Money Market: Bank of America                                                                                             S.C. Code Ann. §
     Acct. no: xx1728
                                                                         $401.43                                  $200.72
                                                                                                                               15-41-30(A)(7) - from unused
     Line from Schedule A/B: 17.1                                                      100% of fair market value, up to       (A)(1)
                                                                                           any applicable statutory limit

     Checking: Bank of America                                                                                                 S.C. Code Ann. §
     Acct. no: xx0156
                                                                       $3,574.88                                $1,787.44
                                                                                                                               15-41-30(A)(7) - from unused
     Line from Schedule A/B: 17.2                                                      100% of fair market value, up to       (A)(1)
                                                                                           any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 4 of 4
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               Case 17-05035-hb                     Doc 16            Filed 12/15/17 Entered 12/15/17 11:15:35                        Desc Main
                                                                     Document      Page 17 of 17




 Fill in this information to identify your case:

 Debtor 1                    Oscar Vazquez-Melendez
                             First Name                     Middle Name             Last Name

 Debtor 2                    Irma Lydia Vazquez
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number              17-05035
 (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

         Yes. Name of person                                                                                   Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Oscar Vazquez-Melendez                                                X   /s/ Irma Lydia Vazquez
              Oscar Vazquez-Melendez                                                    Irma Lydia Vazquez
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       December 7, 2017                                               Date    December 7, 2017




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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